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                              UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF KANSAS
                                   ____________________


LLOYD FREEMAN,                                             Case No. 05-CV-2554 CM/DJW

                 Plaintiff,

v

KELLOGG COMPANY,

                 Defendant.


           STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

       Plaintiff and Defendant hereby stipulate to the dismissal of all claims and counterclaims

in this matter. The claims and counterclaims are dismissed in their entirety, with prejudice and

without costs.


Dated: January 4, 2007                      /s/ Luis Mata (by Jenny Stocker w/permission)
                                            Luis Mata
                                            Randles, Mata & Brown, LLC
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                                            Attorneys for Plaintiff Lloyd Freeman


Dated: January 4, 2007                             /s/ Jennifer J. Stocker
                                            Lawrence J. Murphy
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